                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                     )      COLLIER/CARTER
                                              )
        v.                                    )      CASE NO. 1:09-CR-181
                                              )
 BERRY NOLAN                                  )

                                            ORDER

        On April 29, 2010, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant’s plea of guilty to the lesser

 included offense in Count One of the Indictment, conspiracy to distribute and manufacture

 methamphetamine in violation of 21 USC §§ 841(a)(1) and (b)(1)(B), in exchange for the

 undertakings made by the government in the written plea agreement; (b) the Court adjudicate

 Defendant guilty of the charges set forth in the lesser included offense in Count One of the

 Indictment; (c) that a decision on whether to accept the plea agreement be deferred until

 sentencing; and (d) Defendant shall remain in custody pending sentencing in this matter (Court

 File No. 347). Neither party filed an objection within the given fourteen days. After reviewing

 the record, the Court agrees with the magistrate judge’s report and recommendation.

 Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and

 recommendation pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1) Defendant’s plea of guilty to the lesser included offense in Count One of the

 Indictment, in exchange for the undertakings made by the government in the written plea

 agreement, is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser

 included offense in Count One of the Indictment;




Case 1:09-cr-00181-TRM-CHS           Document 401        Filed 05/17/10     Page 1 of 2         PageID
                                           #: 766
        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

        (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Thursday,

 August 5, 2010, at 2:00.

        SO ORDERED.

        ENTER:

                                           /s/
                                           CURTIS L. COLLIER
                                           CHIEF UNITED STATES DISTRICT JUDGE




                                              2


Case 1:09-cr-00181-TRM-CHS        Document 401       Filed 05/17/10    Page 2 of 2    PageID
                                        #: 767
